          Case 1:18-cr-00218-TSC Document 41 Filed 10/22/18 Page 1 of 1



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                      )
                                               )
               v.                              )       Case No.: 1:18-cr-218 (TSC)
                                               )
MARIIA BUTINA, a/k/a                           )
MARIA BUTINA,                                  )
                                               )
       Defendant.                              )
                                               )

                                       NOTICE OF FILING

       Defendant Maria Butina, by counsel, hereby gives notice of filing of a letter dated October

22, 2018 sent by the undersigned to Assistant United States Attorney Erik M. Kenerson and his

cocounsel for the government, concerning discovery issues in this case. The clerk of the court will

kindly docket said letter filed herewith to apprise the court of the current posture of these discovery

issues prior to the status hearing set for Tuesday, November 13, 2018.

Dated: October 22, 2018                        Respectfully submitted,

                                               /s/Robert N. Driscoll
                                               Robert N. Driscoll (DC Bar No. 486451)
                                               McGlinchey Stafford PLLC
                                               1275 Pennsylvania Avenue NW, Suite 420
                                               Washington, DC 20004
                                               Phone: (202) 802-9999
                                               Fax: (202) 403-3870
                                               rdriscoll@mcglinchey.com

                                               /s/Alfred D. Carry
                                               Alfred D. Carry (DC Bar No. 1011877)
                                               McGlinchey Stafford PLLC
                                               1275 Pennsylvania Avenue NW, Suite 420
                                               Washington, DC 20004
                                               Phone: (202) 802-9999
                                               Fax: (202) 330-5897
                                               acarry@mcglinchey.com

                                               Counsel for Defendant
